         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:01CR48


UNITED STATES OF AMERICA                  )
                                          )
                                          )
           VS.                            )         ORDER
                                          )
                                          )
RONALD AJANI RUDISILL                     )
                                          )


     THIS MATTER is before the Court on the Defendant’s motion for the

early termination of his supervised release. The Government has filed

response and opposes the relief sought.

     According to Defendant’s motion, his period of supervised release

began on or about July 11, 2006, when he was released from the Federal

Correctional Institution at Butner, North Carolina. Defendant’s Motion to

Terminate Post Release Supervision, filed August 11, 2008, at 1. The

Defendant states that since his release, he has had no positive drug

screenings, he meets every three months with his probation officer, and

that he has maintained steady employment. Id. He further notes he is

now employed as a “para professional who assists mental health patients




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in securing community support services” at the Sixth Avenue Psychiatric

Rehabilitation Partners in Hendersonville, North Carolina, and has been so

employed since June 2008. Id. He argues that even though he has been

employed at Sixth Avenue for only two months, he was employed at

another facility for more than a year before the facility went out of business

and its employees were discharged. Id. at 2. Therefore, his entire

employment history should be viewed as a “sign of stability” along with the

fact that he has complied with all the terms of his supervised release and

has not violated any state or federal laws. Id.

      Even though the Government does not dispute that the Defendant

has made a good adjustment from prison, it argues that Defendant should

remain on supervision until he has been employed with Sixth Avenue for at

least six months. Government’s Response to Defendant’s Motion to

Terminate Supervision, filed August 19, 2008, ¶ 3. The Government

further states that if the Defendant remains employed with Sixth Avenue

until at least December 2008, and he does not otherwise violate the terms

of his supervised release, then the Government with the concurrence of

Defendant’s Probation Officer, will recommend termination of the

supervised release period.



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     From a review of both the Defendant’s motion and the Government’s

response, the Court finds that the Government’s position is well taken and

will deny the Defendant’s motion without prejudice to renew after

December 2, 2008, if Defendant remains employed with Sixth Avenue and

has had no violations of his supervised release.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion to

terminate his supervised release is hereby DENIED without prejudice.

                                     Signed: September 4, 2008




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